          Case 2:23-cv-01533-KK-SK      Document 87 Filed 07/22/24       Page 1 of 3 Page ID
                                              #:2930
                                        Office of the Clerk
                       United States Court of Appeals for the Ninth Circuit
                                      Post Office Box 193939
                               San Francisco, California 94119-3939
                                           415-355-8000                              FILED
Molly C. Dwyer
Clerk of Court                                                                        JUL 22 2024
                                                                                  MOLLY C. DWYER, CLERK
                                                                                   U.S. COURT OF APPEALS

                                      DOCKETING NOTICE


       Docket Number:           24-4502
       Originating Case Number: 2:23-cv-01533-KK-SK

       Short Title:                 Torres, et al. v. UnitedHealthcare Insurance Company, et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
      Please read the enclosed materials carefully.
           Case 2:23-cv-01533-KK-SK      Document 87 Filed 07/22/24       Page 2 of 3 Page ID
                                               #:2931
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            415-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           24-4502
        Originating Case Number: 2:23-cv-01533-KK-SK

        Case Title:                  Torres, et al. v. UnitedHealthcare Insurance Company,
                                     et al.



        Monday, July 29, 2024
        Daniel Torres                                         Mediation Questionnaire due

        Monday, August 5, 2024
        Daniel Torres                                         Appeal Transcript Order Due

        Tuesday, September 3, 2024
        Daniel Torres                                         Appeal Transcript Due

        Tuesday, October 15, 2024
        Daniel Torres                                         Appeal Opening Brief Due

        Thursday, November 14, 2024
        UnitedHealthcare Insurance Company                    Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
   Case 2:23-cv-01533-KK-SK    Document 87 Filed 07/22/24    Page 3 of 3 Page ID
                                     #:2932
Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
